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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

   v.
                                                         Case No. 1:21-cr-00512-PLF
MATTHEW THOMAS PURSE,

   Defendant.




                  NOTICE OF FILING SUPPLEMENTAL AUTHORITY

        NOW COMES the United States of America, through undersigned counsel, and

respectfully provides notice of the decision in United States v. Fischer, No. 22-3038, 2023 WL

2817988 (D.C. Cir. Apr. 7, 2023) attached hereto, which the United States submits as supplemental

authority for its response, ECF 35, in opposition to the defendant’s motion to dismiss the

Indictment, ECF 9.

                                            Respectfully submitted,

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